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 Prescribed by Secrelary of Slate
 Sections 16.033; 16.0332, Texas Election Code: Sections 521.044, 730.005, Texas Transportation Code; Section 62.114, Texas
 Govcrnnienl Code
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                 NOTICE TO REGISTERED VOTER FOR PROOF OF CITIZENSHIP
                          A t'iso solicilando coinprohante de ciududanla



 My office has received information concerning your registration to vote. Your registration status is being
 investigated because there is reason to believe you may not be a United States citizen. This information
 may have been provided by clerks of the court regarding individuals who were excused pr disqualified
 from jury duty because they are not U.S. citizens and/or the Department of Public Safety ("DPS") for
 individuals possessing a Driver License or Personal Identification Card who DPS has identified are not
 citizens of the United States and/or other information derived through lawful means. You are now
 required to confirm your eligibility for registration by providing proof of citizenship to maintain your
 registration status. Proof of citizenship must be in a certified form of birth certificate, passport, or
 citizenship papers. If you fail to provide this proof of citizenship within 30 days from the date of this
 letter, your voter registration will be cancelled.

 Mi oficina ha recibido información en cuanto Sn inscripción electoral. Estamos investigando su
 elegibilidad para inscripción en base a que hay causa de dudar su ciudadania estadounidense. Esta
 informacióri podria venir bien sea de los oficinistas de la corte a travds de Ia ]ista de personas disculpadas
 o descalificadas de prestar servicio como miembro de unjuraclo debido a que tales personas no son
 ciudadanos estadounidenses yb del Departaniento de Seguridad Püblica ("DPS") en cuanto a personas en
 posesiOn de una licencia de conducir o tarjeta de identidad personal quienes DPS ha identificado como
 no-ciudadanos de los Estados Unidos y/u otra inforrnacidn derivada por medios legales. Ahora se requiere
 que usted confirme su elegibilidad para inscripción al proveer tin comprobante de su ciudadania para
 mantener su estado de inscripción. Comprobantes de ciudadania deben ser o un acta de nacimiento
 certificada, pasaporte certificado, o documentos de ciudadartia certificados. Si no presenta dicho
 cornprobante de ciudadania estadounidense dentro de un plazo de 30 dias a partir de Ia fecha de este
 aviso, su inscripción electoral será cancelada.




Signature of Voter Registrar                                                           Date
Firma del Registrador cle Totantes                                                     Fecha



The Court heard many assertions by the Secretary of State that
recipients of the above could respond to cure the inquiry by various
means of fax, email, regular mail, etc. Interestingly, the Secretary of
State did not bother to include that information in the notice of
examination.

                                                      Attachment A
                                                  (TX-LU [AC Exhibit 4)
